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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS



 IN RE APPLICATION RE SUBPOENAS                       Misc. No. 1:20-mc-91490-IT
       (by Aleksey Klimovich Markov)



                    APPLICANT’S SUPPLEMENTAL MEMORANDUM



        In response to the Court’s order of October 1, 2020, the Applicant, Aleksey Klimovich

Markov, submits this supplemental memorandum to explain the reasons for proceeding ex parte

in this matter.

        The ordinary practice in Section 1782 cases is for the applicant to file an ex parte

application seeking leave to take discovery. See Theodore J. Folkman, International Judicial

Assistance: Serving Process, Obtaining Evidence, Enforcing Judgments and Awards § 4.10

(MCLE 2012). If the Court grants leave, then the applicant serves the subpoena on the

respondent. The respondent then may raise whatever objections to the subpoena it has, including

objections to issuance of the subpoena. In other words, the respondent can raise all the objections

that it could have raised if it had opposed the application initially. Conversely, serving the

application on the respondent before issuance of the subpoena opens the possibility that the

respondent will raise arguments twice: once in opposition to the application itself, and again on a

motion to quash or in response to a motion to compel, after the subpoena has issued.

        It is for this reason that courts have expressly approved ex parte applications under the

statue. For example, in Gushlak v. Gushlak, 486 Fed. App’x 215, 217 (2d Cir. 2012), the Second

Circuit held: “[I]t is neither uncommon nor improper for district courts to grant applications

made pursuant to § 1782 ex parte. The respondent’s due process rights are not violated because
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he can later challenge any discovery request by moving to quash pursuant to Federal Rule of

Civil Procedure 45(c)(3).” And in In re Letters Rogatory from the Tokyo Dist.,539 F.2d 1216,

1219 (9th Cir. 1976), the court approved ex parte proceedings under the statute because

proceeding ex parte is “customar[y],” and because “the witnesses can … raise[] objections and

exercise[] their due process rights by motions to quash the subpoenas.”

       In some districts, the court has a local rule requiring notice of ex parte applications. See,

e.g., C.D. Cal. L.R. 7-19.1 (movant on an ex parte motion has a duty to attempt to give notice of

the motion to opposing counsel). But such rules are not specific to § 1782; they apply to all

requests for ex parte relief. This Court has no such rule.

       Section 1782 proceedings are still relatively uncommon in this District. Nevertheless, in

Schlich v. Broad Inst., 893 F.3d 40, 51 (1st Cir. 2018), the First Circuit, on its way to rejecting a

rule putting the burden of persuasion on certain issues that arise under § 1782 on the respondent,

found support for its view in “the fact that courts may adjudicate ex parte petitions under §

1782.” In In re Fagan, 2019 U.S. Dist. LEXIS 88547, at *6 (D. Mass. May 28, 2019), Judge

Burroughs expressly noted that it is proper to bring a Section 1782 application ex parte. And in

In re Hanwha Azdel, Inc., 979 F. Supp. 2d 178, 179 (D. Mass. 2013), Judge Ponsor noted that

proceeding ex parte is “common” procedure in such cases.

       For these reasons, the Applicant respectfully submits that beginning proceedings under §

1782 with an ex parte application is the proper and accepted procedure.




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Dated: October 7, 2020                    Respectfully submitted,
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                                          By his Attorney,

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